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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                      MDL No. 2323
INJURY LITIGATION
                                                Hon. Anita B. Brody

Kevin Turner and Shawn Wooden, on behalf of
themselves and others similarly situated,

                             Plaintiffs,
                                                Civ. Action No.: 14-cv-00029-AB
                     v.

National Football League and NFL Properties     Hon. Anita B. Brody
LLC, successor-in-interest to NFL Properties,
Inc.
                              Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS




                   NFL PARTIES’ OPPOSITION TO KEVIN HENRY’S
                  AND NAJEH DAVENPORT’S MOTION FOR RELIEF
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                The National Football League and NFL Properties LLC (collectively, the “NFL

Parties”) respectfully submit this memorandum of law in opposition to Settlement Class Members

Kevin Henry’s and Najeh Davenport’s (together, “Claimants”) motion for relief under Article

XXVII of the Settlement Agreement or relief from Judgment, ECF No. 11169 (the “Motion”).

                                 PRELIMINARY STATEMENT1

                Claimants’ Motion—at bottom accusing the NFL Concussion Settlement Program

of race discrimination arising out of independent neuropsychologists’ widely-accepted practice of

using demographic normative adjustments to accurately score diagnostic testing—has no basis in

law or fact and should be summarily denied.

                As this Court is well aware, the Concussion Settlement was the result of detailed,

arms-length negotiations between the NFL Parties and Class Counsel, was developed with

assistance from top medical experts, was modified to address concerns articulated by the Court,

and was finally approved by this Court and the Third Circuit more than four years ago, after a

searching review of its terms and full evidentiary consideration of all objections mounted against

it. Pursuant to the Settlement Agreement, the NFL Parties and Class Counsel agreed to a long-

term Settlement Program operated by both a neutral Court-appointed Claims Administrator and a

neutral administrator for the Settlement’s Baseline Assessment Program (the “BAP

Administrator”) and guided at every turn by leading neurologists and neuropsychologists. The

Program provides baseline examinations for Retired Players and a process for Retired Players with

qualifying diagnoses of neurocognitive impairment (“Qualifying Diagnoses”) to submit claims for

Monetary Awards. To date, in the four years that the Settlement Program has been in operation,




1
    Capitalized terms not otherwise defined have the meaning assigned to them in the Settlement Agreement.
    Citations to “Ex.” are to exhibits to the Declaration of Dr. Scott Richard Millis (“Millis Decl.”).
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the NFL Parties have funded more than $750 million in Monetary Awards to Retired Players with

Qualifying Diagnoses and have committed to pay all qualifying claims through the life of the

Settlement Program.

               In the Program, independent medical clinicians examine the Retired Players and

are authorized to render Qualifying Diagnoses consistent with negotiated and expert-driven criteria

underlying each Diagnosis.      For certain Diagnoses—specifically, Level 1.5 and Level 2

Neurocognitive Impairment—the Settlement Program prescribes neuropsychological testing as

part of the evaluation process. In negotiating the Settlement Agreement, the Parties relied on

leading experts to identify a battery of established and validated neuropsychological tests in order

to facilitate the most accurate diagnoses. Any such Diagnosis is made solely by the clinician

administering the tests, and is subject to review and approval by the neutral Claims Administrator.

To be clear, neither the NFL Parties nor Class Counsel participates in the clinical diagnoses.

               The neuropsychological test battery consists entirely of well-established and well-

validated tests commonly used in the neuropsychological community. These tests were not

developed for the Settlement Program; to the contrary, their use long predates implementation of

this Settlement Program and they remain widely used today. So, too, are the demographic

normative adjustments (or “norms”) used in connection with the scoring of these tests, which

norms account for numerous characteristics such as age, gender, years of education, and race or

ethnic background. Those norms seek to achieve more accurate results by allowing an individual’s

raw testing scores to be converted to scaled scores and compared with the “average” scores of

individuals with similar demographic characteristics in order to determine if there is any score

deviation such that the individual should be considered impaired. This practice of closely

matching an individual’s comparison group to the individual’s demographics seeks to ensure that




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any score deviation is due to legitimate impairment rather than non-cognitive factors (e.g., test

bias, quality of education, and “stereotype threat”—fear that one might confirm negative

stereotypes about their group). Critically, nothing in the Settlement Agreement mandates the use

of any specific normative adjustments in connection with a diagnostic evaluation. Rather, a

provision in a clinician’s guide—expressly contemplated by the Settlement Agreement to assist in

application of the Settlement’s diagnostic criteria (the “Clinician’s Interpretation Guide” or

“Guide”)—“recommends,” but does not require, application of full demographic (including race-

based) norms in scoring the tests. The inclusion of this recommendation was not suggested by the

NFL Parties. Rather, the neutral BAP Administrator suggested its inclusion based on advice from

its own experts. Consistent with this approach, and as the Special Masters’ recent decision

highlights, race-based normative adjustments are not required and no claim will be denied solely

because a clinician did not use them.

               Moreover, as extensive expert literature confirms, the purpose of demographic

adjustments, including for race or ethnicity, in connection with neuropsychological testing is not

to discriminate against Black test-takers. To the contrary, race-based demographic adjustments

were developed to correct errors in neuropsychological testing which, without adjustment,

misdiagnosed Black test-takers—incorrectly characterizing healthy individuals as cognitively

impaired—at up to three times the rate as White test-takers.

               Notwithstanding that the NFL Parties play no role in the rendering of Qualifying

Diagnoses, that the challenged “recommendation” in the Clinician’s Interpretation Guide derived

from the neutral BAP Administrator and expert medical practice in order to avoid and not

perpetrate bias, and that the Special Masters’ decision confirms that there is no requirement that

racial norms be used, Claimants purport to bring this motion pursuant to Article XXVII of the




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Settlement Agreement, Federal Rule of Civil Procedure 60(b) (“Rule 60(b)”), and 42 U.S.C. 1981

(“Section 1981”), claiming that the Settlement Program somehow perpetrates race discrimination

by imposing unlawful racial classifications as part of the neuropsychological testing program.

Claimants’ motion has no merit, for several reasons.

               As an initial but dispositive matter, Rule 60(b) provides no sound basis for

Claimants’ request to be relieved from the final judgment here. It is long settled that a Rule 60(b)

motion must rest on an “extraordinary” or “changed” circumstance. This case presents no such

circumstances. To the contrary, the availability of race-based norms and adjustments, and the fact

that clinicians may use them in connection with Settlement Program evaluations of all Retired

Players, was disclosed and evident to Retired Players from the outset. To that end, the Settlement

Agreement explicitly states that (1) in order to estimate pre-injury cognitive ability, clinicians

would be able to choose among three tests, two of which account for demographic factors,

including specifically “race/ethnicity”, and (2) all of the neuropsychological tests for determining

current cognitive functioning had been selected “based on the availability of demographically-

adjusted normative data for [both] Caucasians and African Americans.” (Settlement Agmt.

Ex. 2 § 4 (emphasis added).) All Settlement Class Members received notice of the Settlement

Agreement and had ample time to review and assert objections to these terms. And while this

Court heard more than 80 written objections to the design of the Settlement Program and the

neuropsychological testing regime in particular, no objection was ever raised to challenge the

potential use of demographic adjustments—including race-based adjustments—in administering

the neuropsychological testing. Simply put, all potential class members, including Claimants,

could have raised, but did not, their instant arguments in the proper forum: as an objection or as

the basis for an appeal in connection with the approval of the Settlement Agreement. Thus,




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Claimants’ motion is an impermissible ex post attack on the Settlement Agreement that cannot

now be brought under Rule 60(b).

               Second, there is no merit to Claimants’ argument that independent clinicians’ use

of norms in the Settlement Program, as recommended by the Clinician’s Interpretation Guide and

consistent with clinical practice, constitutes an amendment to the Settlement Agreement or that

the Special Masters’ ruling is in any way improper. As noted, the potential use of such norms in

the clinicians’ discretion was clearly disclosed in the Settlement Agreement. And because these

norms are widely used to achieve diagnostic accuracy—indeed the neutral BAP Administrator

suggested they be recommended in this Program where diagnostic accuracy is paramount—the

Special Masters were correct to permit their use and to allow the Claims Administrator to inquire

into a clinician’s rationale in choosing not to use them, to ensure that decision was consistent with

the clinician’s ordinary clinical practice (rather than a one-time, results-oriented decision) or

otherwise appropriate in the context of the individual being evaluated. Because neither the

Settlement Agreement nor the Special Masters’ decision mandates or “presumes” the use of norms,

but instead reserves such use to the reasoned discretion of individual clinicians, there is no basis

and no need for this Court to overrule the thoughtful decision of the Special Masters.

               Third, the Settlement Agreement’s and Clinician’s Interpretation Guide’s provision

for commonly-accepted normative adjustments, including race-based adjustments, to further

diagnostic accuracy does not remotely constitute intentional racial discrimination in violation of

Section 1981. To state a claim under Section 1981, Claimants must, among other elements,

establish that race discrimination was the “but for” cause of their injury, and that the Parties to the

Settlement Agreement had the requisite purposeful intent to treat Black Retired Players differently

from White Retired Players. Claimants cannot come close to meeting these hurdles. Here, the




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Settlement Agreement indisputably provided for the use of demographic adjustments—including

for race—for the sole purpose of achieving diagnostic accuracy for all Retired Players. And the

Special Masters’ decision puts to rest any concern that race-based demographic normative

adjustments are required, or that a clinicians’ failure to use them will ever be the “but for” cause

of any injury: the Special Masters’ decision expressly notes that clinicians may choose not to use

race norms, and that such a determination cannot serve as the sole basis for a claim’s denial.

               Moreover, in the two particular claims at issue in this Motion, there is no question

that the norms were not the cause of any injury to Claimants. Claimant Henry’s claim was denied

on the independent ground that he failed multiple validity tests indicating that his

neuropsychological testing was unreliable. Notably, Claimant Henry never appealed this denial,

which forecloses this application as a procedural matter. By contrast, Claimant Davenport’s claim

has not been finally determined yet. While it was appealed on several independent grounds,

including a failure to satisfy the functional impairment requirement for the Diagnosis, the claim

has been remanded by the Special Masters to the Claims Administrator to inquire of the relevant

clinician how his choice of norms relates to his normal practice. Thus, Claimant Davenport’s

motion is procedurally foreclosed as well.

               For these reasons, and those set forth herein, the NFL Parties respectfully submit

that Claimants’ Motion should be denied.

                                        BACKGROUND

       A.      The Settlement Program Provides Diagnostic Services and Monetary Awards

               The Settlement Program was designed to accomplish two goals: (1) provide

accurate baseline clinical assessments to Retired Players to understand their current condition; and

(2) provide Monetary Awards to Retired Players diagnosed with Qualifying Diagnoses.

               Three diagnoses rely on neurocognitive testing:        (1) Level 1 Neurocognitive


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Impairment (moderate cognitive impairment); (2) Level 1.5 Neurocognitive Impairment (early

dementia); and (3) Level 2 Neurocognitive Impairment (moderate dementia). (Settlement Agmt.

at § 6.3(a), Ex. 1.) Level 1.5 and Level 2 are Qualifying Diagnoses for which a Retired Player

may receive a Monetary Award. (Id. at § 6.3(a).) A diagnosis of Level 1 Neurocognitive

Impairment is not eligible for a Monetary Award; instead the Retired Player is entitled to receive

reimbursement for treatment of the condition (e.g., pharmaceuticals, counseling, examination by

Program providers) up to a certain monetary threshold. (Id. at § 5.11.)

                Examinations for these diagnoses are available to Retired Players in two ways.

Eligible Retired Players may receive free baseline cognitive examinations through the BAP to

screen for and potentially diagnose Level 1, Level 1.5, or Level 2 Neurocognitive Impairment, or

Retired Players may pay for an examination through a network of Qualified MAF Physicians

qualified to render the full array of Qualifying Diagnoses, including Level 1.5 and Level 2

Neurocognitive Impairment. (Settlement Agmt. §§ 5, 6.5.)2 Through both avenues, Retired

Players are examined by independent neurologists and neuropsychologists selected by the neutral

Claims Administrator and approved by the Parties. (Id.) Evaluations are conducted and diagnoses

are rendered in the independent clinicians’ discretion, with no involvement from the Parties.

                Because certain Qualifying Diagnoses are progressive in nature, Retired Players

may seek additional examinations over the Settlement Program’s 65-year term. Thus, Retired

Players who were previously evaluated and did not receive a Qualifying Diagnosis may qualify

for one in the future should their condition deteriorate. Likewise, Retired Players who receive a

Qualifying Diagnosis for a less severe cognitive impairment (e.g., Level 1.5) may be reevaluated




2
    In addition, MAF Physicians can render Qualifying Diagnoses of Alzheimer’s Disease, Parkinson’s Disease, and
    ALS. (Id.)



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at a later date to qualify for a more severe Qualifying Diagnosis (e.g., Level 2) and potentially a

Supplemental Monetary Award. (Id. at § 6.8.)

       B.      The Diagnostic Process

               BAP evaluations consist of two examinations: (1) a specified cognitive test battery

administered by an approved BAP neuropsychologist, and (2) a basic neurological evaluation

completed by a board-certified BAP neurologist. (Id. at §§ 5.1–5.14.) Diagnoses of Level 1, 1.5,

and 2 Neurocognitive Impairment made through the BAP must be made in accordance with the

Settlement Agreement’s specific criteria for those Diagnoses. (Id. at Ex. 1.) These criteria require,

among other things, that the Retired Players’ cognitive test scores meet certain specified thresholds

in two of five cognitive domains, and that the Retired Players demonstrate a specific level of

functional impairment caused by cognitive deficits. (Id.) Qualifying Diagnoses of Level 1.5 and

2 Neurocognitive Impairment rendered by a MAF Physician (as opposed to in the BAP) must be

made in a manner “generally consistent” with these BAP criteria, although the Claims

Administrator is permitted to request a reasonable explanation of the MAF Physician for any

Qualifying Diagnosis that diverges from the specific criteria outlined in the BAP. (Id.)

               The Settlement Agreement’s test battery includes 22 individual tests to diagnose

Levels 1, 1.5, and 2 Neurocognitive Impairment. As this Court concluded in its Final Order

Approving the Settlement (the “Final Order”), these tests were carefully selected by the Parties,

based on the advice of leading experts in the field, as well-validated, widely-utilized tests that

would be familiar to the neuropsychology community and result in accurate diagnoses. (Id. at Ex.

2); In re: Nat’l Football League Players’ Concussion Inj. Litig., 307 F.R.D. 351, 412 (E.D. Pa.

2015), amended, No. 12-md-02323, 2015 WL 12827803 (E.D. Pa. May 8, 2015) [hereinafter Final

Order] (“The Parties and their experts did not construct any test from scratch; each individual

exam in the Test Battery is a well-established and validated tool for diagnosing neurocognitive


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impairment in any age group and is supported by extensive empirical testing to ensure its

validity.”).

        C.     Demographic Considerations and Normative Adjustments in the Settlement
               Program’s Neuropsychological Testing

               As part of its diagnostic testing, the Settlement Agreement contemplates the use of

demographic considerations and adjustments in two ways, consistent with standard practice in the

neuropsychological community to further diagnostic accuracy: (1) in the estimation of the Retired

Player’s level of intellectual functioning prior to any suspected cognitive decline (“premorbid

intellectual functioning”), and (2) in scoring the results of a Retired Player’s cognitive testing.

                       (a)     Determining Premorbid Intellectual Functioning

               In order to determine whether a Retired Player has experienced a decline from a

previous level of intellectual functioning, and to assess the extent of any such decline, a clinician

must first determine the Retired Player’s premorbid intellectual functioning. (Settlement Agmt.

Ex. 2 § 3.) Under the Settlement Agreement, a clinician must estimate whether the Player had

“Below Average,” “Average,” or “Above Average” premorbid intellectual functioning. (Id.)

               A Retired Player’s estimated level of premorbid intellectual functioning dictates

the thresholds he must meet on tests of current cognitive functioning in order to demonstrate the

requisite impairment for each Qualifying Diagnosis. For example, if a Retired Player had Above

Average premorbid intellectual functioning, he does not have to demonstrate as poor performance

on the cognitive testing to qualify for any particular Diagnosis as does an individual estimated to

have had “Average” premorbid intellectual functioning. That is because the diagnoses depend on

decline from a prior level of functioning (that is, from premorbid intellectual functioning). (Id.);

Final Order at 404 (“Simply put, Retired Players with lower estimated pre-injury IQs must do

comparatively worse on the same test to qualify for compensation than Retired Players with higher



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pre-injury ability.”). As the Final Order makes clear, this design is “based on preexisting empirical

research” and reflects the “‘well-known [fact] . . . that premorbid ability has a profound effect on

the expression of deficits following brain injury or disease.”3

                  In standard clinical practice, and in the Settlement Program, premorbid intellectual

functioning is estimated using one of three methods, selected in the examining practitioner’s

discretion: (1) a reading test (the “Test of Premorbid Functioning” or “TOPF”), (2) estimation

based purely on the individual’s demographics, or (3) a combined method that relies both on the

reading test and the individual’s demographics. (Settlement Agmt. Ex. 2 § 3.) The Settlement

Agreement provides that, as in clinical practice, where demographics were considered, this would

include “race/ethnicity.” (Id. (“For each model using demographic data, a simple and complex

prediction equation can be selected. In the simple model, only sex, race/ethnicity, and education

are used in predicting premorbid ability. In the complex model, developmental, personal, and

more specific demographic data is incorporated into the equations. The clinician should select a

model based on the patient’s background and his or her current level of reading or language

impairment.” (emphasis added)).)4 The Parties adopted this framework because it was—and

remains—the long-standing standard approach in clinical practice to achieve an accurate estimate


3
    Id. at 404 (quoting Decl. of Dr. John Keilp ¶ 33, ECF No. 6423-20); (see also Millis Decl. ¶ 18; Ex. 2 at 44
    (Joshua W. Kirton et al., Comparison of Models of Premorbid IQ Estimation Using the TOPF, OPIE-3, and
    Barona Equation, With Corrections for the Flynn Effect, 34(1) AM. PSYCH. ASS’N: NEUROPSYCHOLOGY 43
    (2020)) (“A critical component of psychological and neuropsychological evaluation involves comparison of test
    performance with estimates of overall intellectual ability (e.g., IQ) to determine whether assessment results reflect
    a change from premorbid IQ.”)).
4
    (See also Millis Decl. ¶¶ 17, 19–20; Ex. 3 at 217–18, 220 (James A. Holdnack & Larry G. Weiss, Predicting
    Premorbid Ability for WAIS-IV, WMS-IV, and WASI-II, in WAIS-IV, WMS-IV, and ACS: Advanced Clinical
    Interpretation 217 (James A. Holdnack et al. eds., 2013)) (noting that “[i]n neuropsychological assessment, the
    estimation of a premorbid intelligence is generally used as a comparison standard” and that “[t]ypically” the
    estimate is derived from “demographic data only, current performance data only, or a combination of
    demographic and current performance data”); id. at 236 (“The TOPF provides clinicians with three models for
    predicting premorbid functioning: (a) demographics only, (b) TOPF only, (c) combined demographics and TOPF
    prediction equations. . . . The clinician should select a model based on the patient’s background and his or her
    current level of reading or language impairment.”).)



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of premorbid intellectual functioning. (Id.) The evaluating clinician may choose in his or her

expert discretion to use any of these three options for estimating premorbid intellectual

functioning, regardless of the Retired Player’s race or ethnicity.      The Parties play no role

whatsoever in the clinician’s decision as to which of these well-established tests are used in the

evaluation of premorbid intellectual functioning.

               During the Court’s consideration of the Settlement Agreement, no Class Member

objected to the potential use of demographic factors, including race/ethnicity, in determining

premorbid intellectual functioning. Instead, one objection challenged the one method that did not

incorporate demographic factors: “Some Objectors argue[d] that the TOPF disadvantages those

with accents because one component [the reading test] asks participants to read a list of words and

pronounce them exactly.” Final Order at 412 n.81; (see also Millis Decl. ¶ 19). The Court

dismissed that objection, noting that the TOPF “also includes demographic formulas” as an

alternative means of assessing premorbid intellectual functioning that can take such individual

characteristics into account. Id. The Final Order approving the Settlement expressly determined

that “using the [TOPF] together with a complex demographics statistical model . . . is a fair and

reasonable manner to account for individual variability.” Final Order at 404 (quoting Decl. of Dr.

Richard Hamilton ¶ 15, ECF No. 6423-25).

                      (b)     Tests of Current Cognitive Ability

               The Settlement Agreement’s 22 tests of current cognitive ability and processing

result in a set of raw scores. Consistent with clinical practice, the Settlement Agreement requires

that those raw scores be converted to common scale scores (e.g., “T scores”) for assessment.

(Settlement Agmt. Ex. 2 at 6–8; Ex. 4 (Maura Mitrushina et al., Handbook of Normative Data for

Neuropsychological Assessment 33–56 (2nd Ed. 2005) (“Handbook of Normative Data”)).)

               To obtain a Retired Player’s T score, the neuropsychologist compares the Player’s


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unique raw scores to the raw scores obtained from a sample of unimpaired individuals with

comparable characteristics. (Aug. 20, 2020 Special Masters’ Determination (“Special Masters’

Determination”) at 3; Millis Decl. ¶¶ 21–23; Ex. 4 (Handbook of Normative Data).) “The accuracy

of diagnosis is best when the patient is demographically similar to those individuals included in

the normative data set[.]” (Ex. 5 at 94 (Adam M. Brickman et al., Ethical Issues in Cross-Cultural

Neuropsychology,      13(2)    APPLIED     NEUROPSYCHOLOGY          91    (2006)    (“Cross-Cultural

Neuropsychology”)); see also id. (“[C]omparison of a patient to individuals matched on

demographic features, including race, is appropriate.”); Millis Decl. ¶ 24.) A bell curve is created

such that the average score obtained by the unimpaired comparable sample population is

represented by a T score of 50. (Ex. 4 (Handbook of Normative Data); Millis Decl. ¶ 23.) The

Retired Player’s raw scores are then converted to T scores that reflect how far (if at all) the Retired

Player deviates from his comparable group’s mean unimpaired score (50). (Id.) This allows a

clinician to determine, with accuracy, whether, and to what extent, the individual is impaired.

               Thus, a crucial step in accurately scoring an individual’s current cognitive ability

is the clinician’s selection of the unimpaired comparable sample population against which the

individual’s raw score can be “scaled,” or, put another way, “normed.” In standard clinical

practices—both at the time of the Settlement and continuing today—full demographic normative

adjustments accounting for a wide range of characteristics, including age, education, gender, and

race, have typically been used to norm an individual’s raw scores in an effort to achieve diagnostic

accuracy. (Millis Decl. ¶ 24; Ex. 6 at 173 (James A. Holdnack & Larry G. Weiss, Demographic

Adjustments to WAIS-IV/WMS-IV Norms, in WAIS-IV, WMS-IV, and ACS: Advanced Clinical

Interpretation 171 (James A. Holdnack et al. eds. 2013) (“Holdnack on Demographic

Adjustments”)) (“The ACS demographic adjusted norms incorporate three demographic variables




                                                  12
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that have been used in research and clinical practice for decades:                             sex, education, and

race/ethnicity.”).)5

                  The goal of using race-based norms in this context is to correct for racial bias, not

to perpetrate it, and to achieve accurate diagnoses. Race-based demographic adjustments were

designed by neuropsychologists to correct for the fact that certain racial groups were consistently

obtaining disproportionately low scores on cognitive testing and were being incorrectly classified

as cognitively impaired. (Millis Decl. ¶ 26.) Indeed, research showed that, when unadjusted for

race, testing “typically results in a substantial (sometimes up to three-fold) increase in the

probability of misclassifying normal African Americans as having brain disorders, as compared to

misclassification rates for Caucasians.” Robert K. Heaton et al., Revised Comprehensive Norms

for an Expanded Halstead Reitan Battery: Demographically Adjusted Neuropsychological Norms

for African American and Caucasian Adults 4 (2004);6 (Millis Decl. ¶ 26).                               For example,

researchers had identified unacceptable rates of misdiagnosis of Black and Hispanic test-takers as

compared to White test-takers when race was not accounted for in scoring widely-used tests

included in the Settlement Program’s battery.                   (Ex. 6 at 189 (Holdnack on Demographic



5
    (See also Ex. 7 at 255–56 (Desiree A. Byrd et al., Early Environmental Factors, Ethnicity, and Adult Cognitive
    Test Performance, 20 THE CLINICAL NEUROPSYCHOLOGIST 243 (2006) (“Early Environmental Factors and
    Cognitive Test Performance”)) (recommending clinicians “use ethnicity-specific normative data when evaluating
    African American clients. In the absence of such data, neuropsychologists should exercise considerable caution
    when using Caucasian-based (or Caucasian-dominated) normative standards to interpret African American test
    scores . . . .”); see also Ex. 11 at 109, 114 (David Freedman & Jennifer J. Manly, Assessment of Cognition in
    African American Older Adults, in APA HANDBOOK OF DEMENTIA 107 (2018) (“Assessment of Cognition”))
    (“Because [prior cognitive test data representing the test-taker’s unimpaired scores] rarely exist, as a best estimate
    neuropsychologists use comparison groups of similarly situated people who are currently performing everyday
    tasks without limitations, problems, or disability. Traditionally, similarity has been operationalized as age, sex,
    and years of education,” but “additional consideration of the examinee’s race/ethnicity . . . dramatically
    improve[s] specificity of the test when used among ethnic minorities” and “[u]se of separate norms for African
    Americans is appropriate” when the goal is diagnostic accuracy).)
6
    This document is not attached as an exhibit as we understand the neuropsychological community considers it
    highly confidential and is concerned the integrity of certain confidential data therein could be compromised if
    broadly shared. The NFL Parties note that neuropsychologists, including AAPC neuropsychologists available to
    the Court, have access to this document.



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Adjustments) (When race is not accounted for, “15 to 20% of healthy Hispanics and up to 35% of

healthy African-Americans may be misidentified as having general cognitive or memory

dysfunction compared to 10–14% of Whites”); see also Millis Decl. ¶ 26.)7 These unacceptable

rates of misdiagnosis continue to this day. (See Millis Decl. ¶ 34; Ex. 11 at 107–10 (Assessment

of Cognition) (“Most previous studies of ethnic group differences in performance on

neuropsychological tests have shown that discrepancies between scores of different ethnic groups

persist, despite equating groups on other demographic covariates such as age, education, gender,

socioeconomic background, and medical history . . . . These discrepancies cause . . . cognitively

normal ethnic minorities [to be] more likely to be misdiagnosed as impaired than are Whites.”).)

                 Misdiagnoses have serious public health implications as well as social and

healthcare consequences for the patients and their families. (See, e.g., Millis Decl. ¶ 27; Ex. 10 at

794 (Marc. A. Norman et al., Demographically Corrected Norms for African Americans and

Caucasians on the Hopkins Verbal Learning Test-Revised, Brief Visuospatial Memory Test-

Revised, Stroop Color and Word Test, and Wisconsin Card Sorting Test 64-Card Version, 33(7)

J. CLINICAL AND EXPERIMENTAL NEUROPSYCHOLOGY 793 (2011) (“Demographically Corrected



7
    (See also Ex. 6 at 190 (Holdnack on Demographic Adjustments) (“Next to education level, race/ethnicity has the
    most impact on observed test performance. Studies indicate that Hispanics and African Americans are at a higher
    risk for misidentification of cognitive impairment in the absence of a disease process.”); Ex. 8 at 433 (Monica
    Rivera Mindt et al., Increasing Culturally Competent Neuropsychological Services for Ethnic Minority
    Populations: A Call to Action, 24 THE CLINICAL NEUROPSYCHOLOGIST 429 (2010) (“A Call to Action”))
    (“Numerous studies report the disproportionate rate of false-positive errors for neuropsychological disorders in
    African American and Latino communities.”); Ex. 9 at 163 (John A. Lucas et al., Mayo’s Older African Americans
    Normative Studies: Normative Data for Commonly Used Clinical Neuropsychological Measures, 19 THE
    CLINICAL NEUROPSYCHOLOGIST 162 (2005) (“MOAANS”)) (“Studies of cognitive functioning in African
    Americans, however, have consistently documented an unacceptably high level of misclassification of normal
    individuals as impaired . . . [and] [a]ttempts to account for these misclassifications by controlling common
    demographic variables, such as age or years of education, have been largely unsuccessful.”); Ex. 7 at 243 (Early
    Environmental Factors and Cognitive Test Performance) (“Disparities in neurocognitive test performance in
    people with different cultural backgrounds continue to perplex neuropsychologists and place ethnic minorities at
    greater risk for misdiagnoses when these tests are used for clinical purposes.”); id. at 244 (“[N]eurologically
    normal African Americans tend to earn lower scores than Caucasians on tests of cognitive functioning . . . [t]he
    differences persist across age, gender, and educational levels.”).)



                                                        14
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Norms”)) (“The overestimation of impairment with existing normative data can lead to

misclassification and/or misdiagnosis of African American individuals and can have serious

negative consequences for the patients and their families.”).) For example, a misdiagnosed

individual could alter his career and retirement planning under the misunderstanding that his

condition would progressively decline, or could undergo “unnecessary or inappropriate

treatments.” (Ex. 9 at 163 (MOAANS).)

                  The reason for this racially discriminatory impact in cognitive testing remains the

subject of much debate and study, but is widely understood to be the product of some combination

of biased test content, socioeconomic factors, stereotype threat (i.e., the test-taker’s concern about

potentially confirming negative stereotypes about his or her group), and other non-cognitive

factors.    (Millis Decl. ¶ 28; Ex. 11 at 110–14 (Assessment of Cognition) (cognitive test

performance is impacted by factors other than true cognitive impairment, including “experiences

of discrimination and racism, as well as knowledge of historical cultural and institutional racism,”

“acculturation level,” “stereotype threat” and “[s]ignificant gaps in quantity and quality of

education [that] are found between ethnic minorities and Whites”).)8 However, there were and are

no validated normative adjustments available to correct for these particular factors, in part because


8
    (See also Ex. 10 at 793–804 (Demographically Corrected Norms) (“Factors potentially contributing to raw
    [neuropsychological testing] score differences between African American and Caucasian groups may include
    academic exposure, education quality, academic resources, acculturation, socioeconomic status, social exposure,
    ‘test wiseness,’ societal discrimination.”); Ex. 12 at 2 (Patrick F. McKay et al., The Effects of Demographic
    Variables and Stereotype Threat on Black/White Differences in Cognitive Ability Test Performance, 18(1) J. OF
    BUS. AND PSYCH. 1 (2003)) (discussing that non-cognitive factors, including stereotype threat and parental
    education level, contribute to the fact that “[o]n average, African Americans score approximately 1 standard
    deviation lower than Whites on cognitive ability tests”); Ex. 5 at 92–93 (Cross-Cultural Neuropsychology)
    (“[D]ifferences among groups do in fact exist, but they can be explained by a number of factors, some of which
    have been defined and some of which remain to be operationalized. These factors include quality of education
    . . ., acculturation . . ., literacy . . ., and racial socialization.”); id. at 93 (“Most neuropsychological tests that are
    used in clinical practice have been developed and validated with primarily non-Hispanic White normative cohorts.
    Therefore, there may be an inherent bias in the tests themselves.”); Ex. 13 at S10 (Jennifer J. Manly,
    Deconstructing Race and Ethnicity, 44(11) MEDICAL CARE S10 (Supp. 3 2006) (“Deconstructing Race”))
    (discussing that cognitive test performance is impacted by cultural experience, years and quality of education,
    socioeconomic status, and stereotype threat).)



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“research so far suggests that they are difficult to assess and quantify retrospectively in adults.”

(Ex. 14 at 149 (Robert K. Heaton et al., Demographic Influences and Use of Demographically

Corrected Norms in Neuropsychological Assessment of Neuropsychiatric Disorders 127 (2009)

(“Use of Demographically Corrected Norms”)); see also Millis Decl. ¶ 29.) As a result, normative

adjustments for race, which are available for many widely-used test measures (including all of the

tests of cognitive performance in the Settlement Program), are used as a proxy for these factors in

order to correct for the unacceptable rate of misdiagnosis in Black test-takers and in an effort to

achieve diagnostic accuracy. (See id.; see also Ex. 14 at 149 (Use of Demographically Corrected

Norms) (“In the absence of currently available methods for quantifying such [nuanced] factors

retrospectively and for using them to predict cognitive test performance in individual cases, one

can at least avoid excessive false-positive error rates by using norms that are based upon data from

normal people who are demographically (including ethnically) similar to the patient.”).)9

                  At the time that the Settlement Program was developed, numerous studies

confirmed that the use of race as a demographic adjustment substantially eliminated the

unacceptable disparity in misdiagnosing healthy Black individuals as cognitively impaired. (See,

e.g., Millis Decl. ¶ 29; Ex. 14 at 133–45 (Use of Demographically Corrected Norms) (noting



9
    (See also Ex. 10 at 793 (Demographically Corrected Norms) (“It is considered unlikely that race has a direct
    causal effect on differences in adult cognition, so race/ethnicity is viewed as a proxy for other factors, much like
    has been discussed about education.”); Ex. 15 at 765, 771–79 (Heather R. Romero et al., Challenges in the
    Neuropsychological Assessment of Ethnic Minorities: Summit Proceedings, 23 THE CLINICAL
    NEUROPSYCHOLOGIST 761 (2009) (“2008 Summit Proceedings”)) (“The value of the construct of race is that it
    serves as an easily assessed proxy for more meaningful but complex variables.”); Ex. 13 at S10 (Deconstructing
    Race) (“[R]ace/ethnicity serves as a proxy for” other outcome-determinative “variables such as quality of
    education, wealth, and perceived racism” which cannot yet be “explicit[ly] measure[d]” or normed against); Ex.
    7 at 255 (Early Environmental Factors and Cognitive Test Performance) (“Results from this study further
    demonstrate that neuropsychologists cannot ignore ethnicity when evaluating clients in clinical or research
    settings . . . . Until the sources of [racial] differences [in cognitive testing] are better understood, the best and
    most feasible remedy is for neuropsychologists to use ethnicity-specific normative data when evaluating African
    American clients.”); Ex. 6 at 186–87 (Holdnack on Demographic Adjustments) (“[R]ace, ethnicity, and
    educational level, are proxy variables for a host of interacting and potentially additive environmental factors that
    more directly influence the development, maintenance, and decline of cognitive abilities across the life span.”).)



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various studies have “demonstrated that use of ethnicity corrections for the test norms eliminated

the previously observed discrepancies in false-positive error rates between Caucasians and African

Americans”); id. at 149 (the use of demographic norms including race/ethnicity “provide much

more equal probability of the patient’s being correctly classified as normal or abnormal, regardless

of whether he/she is young or old, a high school dropout or college graduate, male or female, or

White, Black, or Hispanic. For diagnostic questions, this is the major purpose of norms.”

(emphasis in original)).)10

                  To be clear, the use of race-based norms in this manner is not without controversy.

Some in the neuropsychological community have taken “positions that run contrary to the current

Zeitgeist” and have cited various concerns in arguing that race normative adjustments should not

be used, including that such adjustments: (1) could “norm[] away clinically important phenomena”

if it is ultimately discovered that “conditions that cause cognitive impairment” are “more prevalent

among African-Americans” (Ex. 19 at 554–55 (Jason Brandt, 2005 INS Presidential Address:

Neuropsychological Crimes and Misdemeanors, 21 THE CLINICAL NEUROPSYCHOLOGIST 553

(2006) (“Presidential Address”))),11 or (2) are imprecise as they cannot practicably account for




10
     (See also id. at 144–45 (noting a study in which “ethnicity corrections for the test norms eliminated” the observed
     “false-positive error rates for the African American cohort, [that] were clearly excessive for all six factors
     [studied]: Verbal Comprehension (36% versus 11% Whites), Perceptual Organization (37% versus 12%),
     Processing Speed (38% versus 12%), Working Memory (37% versus 11%), Auditory Memory (30% versus 13%),
     and Visual Memory (25% versus 14%)”); Ex. 16 at 271 (Jennifer J. Manly, Advantages and Disadvantages of
     Separate Norms for African Americans, 19 THE CLINICAL NEUROPSYCHOLOGIST 270 (2005) (“Advantages and
     Disadvantages of Separate Norms”)) (“[T]he primary advantage of normative studies of neuropsychological test
     performance among African Americans is that the accuracy of diagnoses will improve when the norms are applied
     to individuals who are demographically similar to the normative sample. Increased specificity of cognitive
     measures is an unmistakable benefit of proper use of normative information.”); Ex. 17 at 156 (Julie Akiko Gladsjo
     et al., Norms for Letter and Category Fluency: Demographic Corrections for Age, Education, and Ethnicity, 62(2)
     PSYCH. ASSESSMENT 147 (1999)) (study showed that “[c]orrecting for ethnicity decreased the false positive error
     rate to acceptable levels” in tests contained in the Settlement Agreement’s test battery).)
11
     (See also Ex. 20 at 323 (Jennifer J. Manly & Ruben J. Echemendia, Race-Specific Norms: Using the Model of
     Hypertension to Understand Issues of Race, Culture, and Education in Neuropsychology, 22 CLINICAL
     NEUROPSYCHOLOGY 319 (2007)) (noting risk that norms could “‘wip[e] out’ clinically significant differences”)).)



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“[t]he sheer number of different race/ethnic groupings in America” (Ex. 21 at 257 (Philip G.

Gasquoine, Race-Norming of Neuropsychological Tests, 19 NEUROPSYCHOLOGY REV. 250 (2009)

(“Race-Norming of Neuropsychological Tests”))), and are based on “historically defined

categories [of race] that have limited scientific meaning” (Ex. 16 at 274 (Advantages and

Disadvantages of Separate Norms)). But none of these papers dispute that studies show a

disproportionate (up to three times higher) rate of harmful misdiagnoses for Black test-takers when

testing results are not adjusted for race. (Millis Decl. ¶ 31.) Nor do they proffer any viable

alternative to such norms for facilitating accurate diagnoses. Instead, they promote unvalidated

and highly flexible methodologies, such as: (1) a holistic analysis that critically studies each of

the underlying test’s cultural biases and reaches a determination on impairment unbound by strict

cognitive score thresholds (Ex. 19 at 553–55 (Presidential Address)), and (2) an “individual

comparison standard” that “has received little attention in the neuropsychological research

literature,” has “no uniformly agreed upon method of making the” estimate of impairment, and has

“little research comparing the accuracy of [the method] with minority participants via published

norms and individual comparison standards” (Ex. 21 at 257 (Race-Norming of Neuropsychological

Tests); see also Millis Decl. ¶ 31). These methods would be unworkable in the context of a

Settlement Program employing formulaic score thresholds and diagnostic criteria.

               The impact of normative adjustments in cognitive testing is such a significant issue

that the neuropsychological community convened a summit in 2008, enlisting the field’s top minds

and “key perspectives” to discuss the question and issue recommendations. (See Ex. 15 at 762,

771–79 (2008 Summit Proceedings); Millis Decl. ¶ 30.) The resulting guidance was clear:

demographic normative adjustments (including for race) are useful when diagnosing acquired

cognitive impairment—the precise goal of the Settlement Program. (Id.; see also Ex. 15 at 770




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(2008 Summit Proceedings) (such norms “are useful when they are used to identify and

characterize acquired neurocognitive impairment.” (emphasis in original)).)

               This recommendation has not changed.           “[D]emographic norms for African

Americans [remain] an important tool when the question is diagnostic, and when the normative

cohort includes a sufficient number of people with the same background (including birth year) as

the examinee, because their use improves the specificity of detection of subtle cognitive

impairment.” (Ex. 11 at 110 (Assessment of Cognition); see also Millis Decl. ¶ 34.) Indeed, a

study showed that a majority of clinicians use race normative adjustments “when interpreting

cognitive scores of ethnic/racial minorities.” (Ex. 18 at 355–56 (Milushka M. Elbulok-Charcape

et al., Trends in the Neuropsychological Assessment of Ethnic/Racial Minorities: A Survey of

Clinical Neuropsychologists in the United States and Canada, 20(3) CULTURAL DIVERSITY AND

ETHNIC MINORITY PSYCH. 353 (2014)); see also Millis Decl. ¶ 30.)

               In fact, neuropsychologists have pointed to an inherent danger in Claimants’

argument that race-based normative adjustments should be outlawed. That position has been

criticized as accepting the view that cognitive performance is unaffected by cultural and

environmental factors and thus does not need to be adjusted for differences in this regard (a

“universalist” view), which can lead to adverse outcomes for racial minorities, including

“(1) inaccurate and harmful racial/ethnic generalizations, (2) inadequate science (not examining

construct validity), and (3) inappropriate use of tests in the assessment of racial/ethnic minority.”

(Ex. 8 at 430–31 (A Call to Action); see also Millis Decl. ¶ 32.) Indeed, some researchers worry

that this view “can lead directly to nativism, because when ethnic groups differ on

neuropsychological test performances, those differences can be attributed to genetic endowment

rather than culture and environment.” (Ex. 8 at 431 (A Call to Action).)




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                  The Settlement Agreement, which all potential class members received notice of,

made clear that the tests of current neurocognitive functioning were selected “based on the

availability of demographically-adjusted normative data for Caucasians and African Americans.”

(Settlement Agmt. Ex. 2 § 4.) As the Special Masters’ Determination remanding Mr. Davenport’s

claim correctly concluded, “[t]his language suggests that the Agreement’s drafters believed that

demographically adjusting normative data was an important technique in accurately identifying

whether the Claimant demonstrated” cognitive impairment. (Special Masters’ Determination at

9.) Because the Settlement affords the individual clinician discretion to choose not to apply race

norms if he or she believes the risk of a false negative exists, the risk that automatic application

will lead to a false negative diagnosis where an individual has not been affected by the factors

underlying race normative adjustments is accounted for and avoided. (See Millis Decl. ¶ 35.)

                  While the Settlement clearly contemplated the potential use of race-based

demographic norms, no objections were made on this score. The Settlement Agreement was

subject to 83 written objections filed by 205 objectors, lengthy submissions by the Parties, and

hearings conducted both by this Court and the Third Circuit. Final Order at 269.12 No one

challenged the use of race-based demographic considerations and normative adjustments.

         D.       The Clinician’s Interpretation Guide Recommendation

                  Beyond expressly disclosing to potential Settlement Class Members and their

counsel the contemplated use of demographic (including race-based) norms, the Agreement also

expressly stated that a more detailed “user manual” would be developed and “provided to

neuropsychologists setting out the cutoff scores, criteria for identifying impairment in each

cognitive domain, and statistical and normative data to support the impairment criteria.”


12
     See also In re: Nat’l Football League Players’ Concussion Inj. Litig., 821 F.3d 410 (3d Cir. 2016).



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(Settlement Agmt. Ex. 2 § 4.) This practice—leaving certain details of the Settlement Agreement’s

implementation to the Parties and Court post-approval—is standard in settlements of this nature.13

                  Consistent with this mandate, the Parties (including Class Counsel, at that time

appointed to represent the Settlement Class) collaborated on the Clinician’s Interpretation Guide,

advised by their respective expert neuropsychologists. (See Special Masters’ Determination at 9;

Millis Decl. ¶¶ 12, 33.) The Guide “recommend[s],” but does not require, the use of “full

demographic correction”—which includes race—in converting a test-taker’s raw scores on

neuropsychological tests to scale scores. (Id. at 9.) Critically, this language was not requested by

the NFL Parties (or by Class Counsel). Instead, this language was suggested by the neutral BAP

Administrator at the time based on the advice of its own experts. (Millis Decl. ¶ 33.) The

suggestion was accepted by the NFL Parties and Class Counsel in furtherance of both Parties’

commitment to achieving accurate diagnoses for all Retired Players, and in line with the current

guidance in the neurocognitive literature. As discussed in detail above, this literature clearly

recommends the use of full demographic corrections in diagnostic settings, but also provides that

practitioners should consider the “examinee’s own conceptualization of their race/identity” and



13
     See In re: Nat’l Football League Players’ Concussion Inj. Litig., 962 F.3d 94, 101–02 (3d Cir. 2020)
     (promulgation of post-settlement “clarifications created for the Settlement Agreement’s proper and successful
     administration” constituted Settlement “interpretation” and “not [an] amendment[]”); see also Settlement
     Administration, Ann. Manual Complex Lit. § 21.66 (4th ed.) (“Class settlements are rarely self-executing and
     various problems may arise in their administration.”); Judicial Oversight of Claim Process, 4 Newberg on Class
     Actions § 12:25 (5th ed.) (“Occasionally, in the course of administering a class action settlement, issues may arise
     that are not covered in the parties’ settlement agreement . . . . With rare exceptions, the court’s equitable powers
     will empower it to address such concerns.”)); Order at 1, In re Oil Spill by the Oil Rig “Deepwater Horizon” in
     the Gulf of Mexico, No. 2:10-md-02179-CJB-JCW (E.D. La. Oct. 23, 2017), ECF No. 23570 (court implemented,
     pursuant to its continuing and exclusive jurisdiction, rules and procedures governing certain claims processes);
     Order at 1, In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, No. 2:10-md-02179-CJB-
     SS (E.D. La. Jul. 26, 2013), ECF No. 10877 (same); Order at 1, In re Oil Spill by the Oil Rig “Deepwater Horizon”
     in the Gulf of Mexico, No. 2:10-md-02179-CJB-SS (E.D. La. Sep. 24, 2012), ECF No. 7462 (same); Flores v.
     Barr, 934 F.3d 910, 911–12 (9th Cir. 2019) (district court merely interpreted, and did not modify, a settlement
     agreement when it held that a provision requiring the government to provide “safe and sanitary” conditions to
     detained minors should, in practice, require the provision of a list of specific hygiene items (e.g., deodorant) and
     adequate sleeping accommodations).



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“determine if the individual’s background is representative of the factors that can result in

cognitive differences between groups” prior to applying race adjustments. (Ex. 6 at 199–200

(Holdnack on Demographic Adjustments).) Thus, as the Special Masters’ ruling expressly states,

the Guide does not require neuropsychologists to apply full normative adjustments. (Special

Masters’ Determination at 10.) Rather, the question of which demographic adjustments should be

applied is left to the practitioner’s expert judgment. (Id.)

                  The Special Masters’ decision also incorporates the sound legal principle that

discretion is not unbridled and must be exercised in a reasonable way. Because practitioner

discretion in the application of normative adjustments leaves open the possibility that a clinician

may improperly “decide[] to adjust [for race], or not, as a way of achieving a financial result for a

particular player”—i.e., a neuropsychologist may manipulate the demographic corrections to

inappropriately classify an individual as cognitively impaired when he is not, in order to qualify

him for a Monetary Award—the Special Masters determined the Claims Administrator “may

require clinicians to show that [any] decision to avoid” applying standard race-based demographic

adjustment was either: (1) “consistent with their ordinary practice” (to “assuage any worry that

the adjustment was a one-time-only technique to achieve a particular result”) or (2) based on the

practitioner’s reasonable belief that such normative adjustments would lead to the incorrect result

based on the “individualized characteristics of the Claimant.” (Special Masters’ Determination at

11.)14 The Claims Administrator may not substitute its judgment for the reasoned judgment of the

expert clinician; as the Special Masters held, claims will not be denied “solely because the clinician



14
     This framework makes sense in the context of a compensatory scheme, where it is necessary to ensure that
     clinicians’ choices are reasoned. The Claims Administrator has plenary authority to investigate the accuracy of
     claims and diagnoses and routinely asks clinicians, among other things, to provide a reasoned explanation when
     they depart from the BAP battery’s tests or prescribed score cutoffs in connection with MAF diagnoses, or where
     they determine that neuropsychological testing is unnecessary because a patient’s dementia is so severe.



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chose to reject the . . . recommendation to use African American normative samples in interpreting

raw scores.” (Id. at 10.) And, based upon the NFL Parties’ review, no claim has ever been denied

by the Claims Administrator or on appeal by the Special Masters solely on the basis of a failure to

apply full demographic norms—including Claimants’ claims.15

         E.        Claimants Henry and Davenport’s Claims

                   Claimant Kevin Henry submitted a claim for Level 1.5 Neurocognitive Impairment

made through the MAF Program. (Doc. No. 194178 at 1 (Notice of Denial of Monetary Award

Claim).) A member of the AAP—the neutral panel of leading neurologists in the field of cognitive

impairment, jointly selected by the Parties and approved by the Court—reviewed and denied Mr.

Henry’s claim for multiple reasons. (Id.) In addition to the question of the use of full demographic

norms, Mr. Henry’s claim was denied on the independent ground that he failed multiple

performance validity measures (clinically standard tests required by the Settlement Agreement that

are designed to determine whether the test-taker is feigning impairment). (Id.) Notably, Claimant

Henry did not appeal this determination denying his claim.

                   Claimant Najeh Davenport filed a claim for Level 1.5 Neurocognitive Impairment

made through the MAF Program and supported by testing conducted by a neuropsychologist who

is no longer approved to support MAF diagnoses. (Doc. No. 218314.) The Claims Administrator

approved Mr. Davenport’s claim without AAP or AAPC assistance. (Id.) The NFL Parties,

however, discovered that Mr. Davenport’s claim, like Mr. Henry’s, had numerous issues, including

that it was unclear which norms, if any, the neuropsychologist employed, and when full

adjustments were applied, Mr. Davenport showed no impairment in any cognitive domain. While

the NFL Parties’ appeal of Mr. Davenport’s claim raised this normative adjustment issue, it


15
     To the extent it would be useful to the Court, the NFL Parties respectfully suggest that the Court direct the neutral
     Claims Administrator to conduct an independent review to confirm the NFL Parties’ finding.


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primarily argued that Mr. Davenport’s claim should be denied on other grounds: he failed a

validity measure and could not satisfy the requirement that his functional impairment be caused

by cognitive loss (as non-cognitive issues better explained any functional impairment he was

experiencing). (Doc. No. 219431.) Mr. Davenport’s claim has not been finally determined.

Instead, the Special Masters, in consultation with AAPCs, remanded Mr. Davenport’s claim to

allow the Claims Administrator to “seek more clarity from [the neuropsychologist] as to exactly

what he did, and how it relates to his normal practice” with respect to the use of norms, with

guidance that the claim should not be denied solely on the basis of a failure to use a racial normative

adjustment. (Special Masters’ Determination at 12.)

               In sum, the recommended but discretionary use of demographic normative

adjustments is consistent with prevailing practices in the neuropsychological community—both at

the time of the Settlement and continuing today—and was expressly contemplated by the

Settlement Agreement. For the reasons set forth below and herein, the Motion should be denied.

                                           ARGUMENT

               Claimants’ Motion is both factually misguided and legally flawed.

               First, Claimants cannot invoke Rule 60(b) to seek relief they “could have

reasonably sought” through an objection or appeal to the Settlement Agreement’s implementation.

Nunez v. Temple Prof’l Assocs., 245 Fed. Appx. 144, 148 (3d Cir. 2007). The potential use of

demographic normative corrections—a clinically standard practice designed by the

neuropsychological community to achieve accurate diagnoses and expressly contemplated by and

fully disclosed in the Settlement Agreement—does not, as Claimants argue, constitute a “changed

factual circumstance,” a practice that is “detrimental to the public interest,” or “overt race

discrimination” constituting an “extraordinary circumstance[] that justif[ies] reopening the

judgment” under Rule 60(b). (Motion at 20–21.)


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               Second, both the Clinician’s Interpretation Guide and the Special Masters’ reasoned

Determination approving the discretionary use of demographic normative adjustments are

consistent with the Settlement Agreement’s clear terms and standard neuropsychological clinical

practice and do not constitute impermissible amendments to the Settlement Agreement.

               Finally, Claimants’ argument that the recommended use of full demographic

normative corrections is barred by Section 1981 fails because, among other reasons, racial

normative adjustments were not the “but for” cause of any injury to Claimants, Comcast Corp. v.

Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020), and because there can be

no serious argument that anyone, let alone the NFL Parties, purposely “inten[ded] to discriminate

on the basis of race” in the face of an indisputable record that the goal of the discretionary use of

norms, which were generally recommended at the suggestion of the neutral BAP Administrator’s

experts (not the NFL Parties), was for diagnostic accuracy and to avoid racial bias in the subject

tests, Brown v. Philip Morris Inc., 250 F.3d 789, 797 (3d Cir. 2001).

I.     Claimants Have No Basis to Invoke Rule 60(b)

               Claimants improperly request that this Court use its equitable powers under Rule

60(b) to “relieve” them “from [the] final . . . order” implementing the Settlement Agreement or

modify the Settlement Agreement’s terms to prohibit the use of a race normative adjustment. But

Claimants can articulate no credible basis to invoke Rule 60(b).

               As discussed, demographic normative adjustments were always expressly

contemplated by and fully disclosed in the Settlement Agreement and their potential application

reflects well-accepted clinical practice. (See supra pp. 6–23.) Claimants had ample notice and a

full opportunity to object to the Settlement Program’s potential use of race-based norms but failed

to do so. Claimants cannot now bring a 60(b) motion requesting the Court to modify or reject

terms that they could have, but chose not to, object to or appeal. See Martinez-McBean v. Gov’t


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of V.I., 562 F.2d 908, 911 (3d Cir. 1977) (“[C]ourts must be guided by ‘the well established

principle that a motion under Rule 60(b) may not be used as a substitute for appeal.’ . . . [I]t is

improper to grant relief under Rule 60(b)(6) if the aggrieved party could have reasonably sought

the same relief by means of appeal.” (internal citations omitted)).16

                   Claimants have articulated no reason they could not have brought the present

objection five years ago when the Settlement was being carefully scrutinized and reviewed for

final approval by this Court and the Third Circuit. If Claimants “wanted to contest the propriety

of” the use of demographic adjustments, they “should have done so by [objection or] appeal after

a final order in the case was entered. . . . [The Court] cannot grant relief under 60(b) if,” as here,

Claimants “could have reasonably sought the same relief by means of an appeal.” Nunez, 245 Fed.

Appx. at 148. The Parties are entitled to finality on claims settled more than five years ago.

                   Rule 60(b) “does not confer upon the district courts a standardless residual

discretionary power to set aside judgments.” Martinez-McBean, 562 F.2d at 911. Indeed,

Claimants “admit[]” that Rule 60(b) provides a “narrow avenue” to relief and requires either: (1) a

“‘significant change in factual circumstance,’” “unforeseen obstacle,” or practice that is

“‘detrimental to the public interest’” for relief under Rule 60(b)(5); or (2) “extraordinary

circumstances that justify reopening the judgment,” such as “overt race discrimination,” for relief

under Rule 60(b)(6).17 (Motion at 20–21 (quoting Democratic Nat’l Comm. v. Republican Nat’l



16
     See also Seese v. Volkswagenwerk, A.G., 679 F.2d 336, 337 (3d Cir. 1982) (“The district court is without
     jurisdiction to alter [a court’s] mandate . . . on the basis of matters included or includable in the defendant’s prior
     appeal.”); Hibbard v. Penn-Trafford Sch. Dist., 621 Fed. Appx. 718, 723 (3d Cir. 2015) (“Here, the conclusion is
     inescapable that [plaintiff] made a considered decision not to appeal the [court’s] order . . . . There was thus no
     proper basis for the District Court to reopen the judgment under Rule 60(b)(6).”).
17
     Claimants reference—but do not engage with—Rule 60(b)(1)–(4). (Motion at 21.) There is a “specific 1-year
     deadline for asserting” Rule 60(b)(1)–(3) motions, which has long since passed, and Claimants make no attempt
     to—and cannot—assert that the judgment is in any way “void” under Rule 60(b)(4). Gonzalez v. Crosby, 545
     U.S. 524, 535 (2005). In all events, the potential use of demographic adjustments was clear from the face of the
     Settlement Agreement and thus does not constitute a “surprise” or “mistake,” is certainly not the product of “fraud


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Comm., 673 F.3d 192 (3d Cir. 2012)).) Claimants cannot remotely meet this high burden.

                   As discussed, far from being a “change,” the discretionary use of demographic

normative adjustments was expressly contemplated by the Settlement Agreement. This practice

also does not constitute an “extraordinary circumstance” or “overt race discrimination.” (Id.) To

the contrary, normative adjustments are well-accepted in clinical practice (then and today), and

were made available—but not required—in the Settlement Program solely to avoid racial bias and

to achieve diagnostic accuracy.                 In sum, nothing has changed, and no “extraordinary

circumstances” exist that would justify revisiting the Final Order. The use of demographic norms

remains non-discriminatory, proper, and consistent with commonly-accepted practices in the

neuropsychological community for correcting errors in neuropsychological testing.18

                   Further, the purported Rule 60(b) relief Claimants request is patently improper.

While the Court has a “general equitable power to modify the terms of a class action settlement

. . . for the protection of class members,” this authority is generally limited, as Claimants’ own

case makes clear, to terms “deliberately left . . . to the Court’s discretion” (e.g., court-mandated

deadlines)—not substantive “bargained-for terms.” In re Cendant Corp. Prides Litig., 233 F.3d

188, 194–95, 197 (3d Cir. 2000) (affirming district court’s “conclusion that it could, without

upsetting the bargained-for terms of the Stipulation, modify” court-mandated deadlines

(emphasis added)); see also Ehrheart v. Verizon Wireless, 609 F.3d 590, 593 (3d Cir. 2010) (“A



     [or] misrepresentation,” and is not called into question by any new “evidence.” Rule 60(b)(1)–(4).
18
     Claimants cite In re Diet Drugs., 706 F.3d 217, 227 n.8 (3d Cir. 2013), for that court’s statement—in dicta—that
     a court may modify settlements “when the plaintiff demonstrates that there has been a ‘significant change either
     in factual conditions or in the law.’” (Motion at 20.) But, as discussed, that is not the case here, nor was it the
     case in In re Diet Drugs. Indeed, Claimants’ citation to that case is ironic, given that the settlement class member
     there was challenging a medical requirement where “normative values used to calculate a patient’s percentage of
     lung capacity predicted at rest ‘are based upon averages for persons of similar height, weight, age, ethnicity, etc.’”
     Id. at 221–22 (emphasis added). No claim of discrimination was raised to the incidental use of ethnicity as one
     factor in norming medical data; instead, the settlement class member unsuccessfully sought reformation of the
     medical requirement based on the allegation that new diagnostic capabilities rendered it obsolete. Id. at 223.



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district court is not a party to the settlement, nor may it modify the terms of a voluntary settlement

agreement between parties.”).19

                    Claimants thus offer no “justif[ication]” for this Court to invoke Rule 60(b) and

“relieve” them “from [the] final . . . order” implementing the Settlement Agreement, and certainly

provide no basis for the Court to modify the Agreement. (Motion at 19.)20

II.       The Clinician’s Interpretation Guide Recommendation and Special Masters’
          Decision Are Sound and Do Not Amend the Settlement Agreement

                    Claimants similarly offer no basis for this Court to find that either the Clinician’s

Interpretation Guide recommendation or the Special Masters’ reasoned Determination amends the

Settlement Agreement or is in any way improper.

                    As discussed, the Settlement Agreement expressly provides that demographic

norms may be used by independent clinicians in two ways, consistent with standard clinical

practice: (1) the estimation of premorbid ability (Settlement Agmt. Ex. 2 § 3); and (2) the norming

of cognitive testing scores (id. at § 4). Indeed, the Settlement Agreement explains that cognitive

tests were selected “based on the availability of demographically-adjusted normative data for



19
      Indeed, if a court chooses to modify or invalidate a material bargained-for term as illegal or against public policy,
      the entire agreement may have to be voided where, as here, the provisions are interdependent and not divisible.
      See, e.g., 8 Williston on Contracts § 19:70 (4th ed.); 22 N.Y. Jur. 2d Contracts §§ 201, 261.
20
      None of Claimants’ cited cases support the invocation of Rule 60(b), as they all either confirm Rule 60(b)’s
      inapplicability or are readily distinguishable. See Democratic Nat’l Comm., 673 F.3d at 202 (Rule 60(b) relief
      was not justified because the movant knowingly entered into the consent decree, and did not demonstrate “a
      significant change in factual conditions [or] law;” that the decree was “‘unworkable because of unforeseen
      obstacles;’” or that the decree’s enforcement was “‘detrimental to the public interest’” (internal citation omitted));
      White v. NFL, 585 F.3d 1129, 1136–37 (8th Cir. 2009) (modification of consent decree was not warranted where
      the alleged “changed circumstance” had actually occurred “contemporaneously with the execution of the original
      agreement”); Pigford v. Veneman, 292 F.3d 918, 927 (D.C. Cir. 2002) (D.C. Circuit applied Rule 60(b) to reset
      settlement deadlines due to the “unforeseen obstacle” of class counsel’s egregious failure to meet critical claims
      deadlines for class members constituting “virtual malpractice”); Budget Blinds, Inc. v. White, 536 F.3d 244, 258
      (3d Cir. 2008) (default judgment could not be set aside under Rule 60(b)(6) because there were no “extraordinary
      circumstance[s]” justifying relief and defendants’ “decision not to contest the . . . [default] judgment was the
      result of a deliberate choice”); Buck v. Davis, 137 S. Ct. 759, 759 (2017) (relief justified under Rule 60(b) where
      prisoner was sentenced to death based in part on psychologist’s determination that he was “statistically more
      likely to act violently [in the future] because he is black”).



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Caucasians and African Americans,” and expressly states that the parties would create a more

detailed “user manual” that, among other things, would set out the “normative data to support the

impairment criteria.” (Id.) It is thus hardly surprising, much less a departure from or an

amendment to the Settlement Agreement, that full demographic, including race-based, norms

would be “recommended” by the Clinician’s Interpretation Guide—again, at the request of the

independent BAP Administrator—in converting raw scores to scaled scores. (Special Masters’

Determination at 9.)21 Indeed, as the Special Masters’ well-reasoned Determination makes clear,

the Guide “leaves significant room for clinical discretion” in the choice of norms, as it “only

recommends”—but does not mandate—the use of race-based norms. (Id. at 10 (emphasis in

original).) Because neither the Guide nor Determination “requires clinicians to presume the use

of race norms” (Motion at 17), they do not amend the Settlement Agreement.

                  In sum, both the Guide and the Special Masters’ Decision reflect standard clinical

practice in the field of neuropsychology, are entirely consistent with the Settlement Agreement,

and neither “alter[s] [the] bargained-for terms” of the Settlement such that an impermissible

amendment to the Settlement Agreement has occurred. In re: Nat’l Football League Players’

Concussion Inj. Litig., 962 F.3d at 101–02 (promulgation of post-settlement “clarifications created

for the Settlement Agreement’s proper and successful administration” constituted Settlement

“interpretation” and “not [an] amendment[]”).22 Claimants’ request that this Court overrule the


21
     Claimants also argue that, if the Court finds the Settlement terms regarding normative corrections are
     “ambiguous,” it should “construe the Settlement Agreement so as not to require that clinicians presume the[ir]
     use” to “avoid the Settlement Agreement being unconstitutional or void as against public policy.” (Motion at 17.)
     The Settlement Agreement is not ambiguous—normative corrections are clearly contemplated (though not
     required). (Special Masters’ Determination at 11.) And, as discussed below, the Settlement’s terms do not run
     afoul of the Equal Protection clause, Section 1981, or public policy. (See infra pp. 31–35.)
22
     See also Flores, 934 F.3d at 911–12 (district court merely interpreted, and did not modify, a settlement agreement
     when it held that a term requiring the provision of “safe and sanitary” conditions to detained minors in practice
     required the provision of specific hygiene items (e.g., deodorant) and adequate sleeping accommodations, despite
     those items not being specifically listed in the agreement).



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Special Masters’ determination and treat the Guide’s recommended (but not mandated) use of

demographic normative adjustments as an impermissible amendment to the Settlement Agreement

is therefore meritless.

                 Indeed, Claimants’ Motion amounts to an improper end-run around the Settlement

Agreement’s clear procedures. Claimants attempt to take “the extraordinary action of modifying

the Settlement Agreement,” Oct. 26, 2017 Order, ECF No. 8557, despite the fact that:

(1) Mr. Henry received notice of his claim’s denial—and his right to appeal that determination

within 30 days—but declined to file any appeal or request any extension of time for his appeal; (2)

Mr. Davenport’s claim has not yet been determined, because the Special Masters’ decision to

remand Mr. Davenport’s claim had the effect of “terminat[ing]” the appeal and claim

determination, placing the claim back into “processing;” 23 and (3) Mr. Davenport’s Objection to

the Special Masters’ Determination remains pending. Claimants should not be permitted to

circumvent the Settlement Agreement’s clear processes by filing the present Motion. See Oct. 26,

2017 Order, ECF No. 8557 (denying a motion to modify the Settlement in part because plaintiff

failed to “go through the [Settlement Agreement’s] appeals process and raise any issues as to why

she [was] entitled to relief—including, but not limited to, the . . . issue raised in her motion to

modify”); Nov. 2, 2017 Order, ECF No. 8882 (“Movants must proceed through the Claims

Administration process, and if the claims are denied, movants must follow the proper appeals

process. Movants’ attempt to circumvent those processes by directly petitioning the Court is

improper.”).




23
     Rule 23(c), Rules Governing Appeals of Claim Determinations, NFL Concussion Settlement Website (Jan. 7,
     2019), https://www.nflconcussionsettlement.com/Docs/rules_governing_appeals_of_claim_determinations.pdf.



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III.   Claimants’ Purported Section 1981 Claim is Meritless

               Finally, the Settlement Program’s provisions allowing neuropsychologists to use

racial adjustments in estimating premorbid intellectual function and norming cognitive test

scores—consistent with standard clinical practice—in no way violates Section 1981. Claimants’

Section 1981 claim fails at the outset because racial discrimination is not the “but for” cause of

their “injury” (if any), and there is no argument that any actor here had any discriminatory intent.

       A.      Claimants Do Not Meet the Requirements for a Section 1981 Claim

               Section 1981 provides that “[a]ll persons within the jurisdiction of the United States

shall have the same right . . . to make and enforce contracts,” including “the making, performance,

modification, and termination of contracts, and the enjoyment of all benefits, privileges, terms,

and conditions of the contractual relationship.” To state a Section 1981 claim, Claimants must

“initially plead and ultimately prove that, but for race,” they would not have suffered their injury,

if any. Comcast, 140 S. Ct. at 1019 (emphasis added); see also Bakkali v. Walmart, Inc., No. 20-

CV-3440, 2020 WL 5517350, at *3 (E.D. Pa. Sept. 14, 2020) (“[T]o prevail, a plaintiff must

initially plead and ultimately prove that, but for race, he would not have suffered the loss of a

legally protected right.” (emphasis added)). Claimants also must allege facts supporting “the

following elements: (1) [they are] a member of a racial minority; (2) intent to discriminate on the

basis of race by the defendant; and (3) discrimination concerning one or more of the activities

enumerated in the statute[,] which includes the right to make and enforce contracts.” Brown, 250

F.3d at 797. Claimants cannot come close to meeting this burden.

               First, as discussed, only Mr. Henry’s claim has been denied and it was denied on

independent grounds unrelated to normative adjustments; Mr. Davenport’s claim has not been

denied (it has been remanded) and it was appealed on several grounds unrelated to normative

adjustments. (See supra pp. 23–24.) Moreover, as the Special Masters made clear, a clinician’s


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mere failure to use a race adjustment will never be the sole basis for a claim’s denial. (Special

Masters’ Determination at 11.) Indeed, based upon the NFL Parties’ review, no claim has ever

been denied solely because a practitioner failed to apply a race-based normative adjustment.

Claimants’ appeal to Section 1981 thus fails at its premise, as they have not alleged, and cannot

allege, that race or racial demographic normative adjustments were the “but for” cause of their

injury, as required. Comcast, 140 S. Ct. at 1019.

               Second, Claimants do not—and cannot—remotely allege that anyone involved in

the Settlement’s design or implementation had the requisite discriminatory intent where, as here,

the provisions reflect standard clinical practice and were designed to achieve diagnostic accuracy.

Section 1981 can “be violated only by purposeful discrimination,” Gen. Bldg. Contractors Ass’n,

Inc. v. Pennsylvania, 458 U.S. 375, 391 (1982) (emphasis added), which requires more than “intent

as volition or intent as awareness of consequences,” Juarez v. Nw. Mut. Life Ins. Co., 69 F. Supp.

3d 364, 368 (S.D.N.Y. 2014) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009) (describing the

motion to dismiss standard)). Instead, discrimination is intentional only if the defendant “selected

or reaffirmed a particular course of action ‘because of,’ not merely ‘in spite of,’ its adverse effects

upon an identifiable group.” Pollard v. Wawa Food Mkt., 366 F. Supp. 2d 247, 252 (E.D. Pa.

2005) (internal citation omitted); id. (disparate impact claims “are not actionable under section

1981” as “discriminatory motive” is required (emphasis added)); Doe v. Lower Merion Sch. Dist.,

665 F.3d 524, 548 (3d Cir. 2011) (“Racially discriminatory purpose means that the decisionmaker

adopted the challenged action . . . because the action would benefit or burden an identifiable

group.” (emphasis added)).

               Here, as discussed, demographic normative adjustments were recommended (but

not mandated) not at the request of the NFL Parties but at the behest of the neutral BAP




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Administrator, and provided for (at the discretion of clinicians) in the Settlement Program not

“because” they would result in different treatment between Black and White Retired Players, but

because they are customary in clinical practice, are designed to eliminate the disproportionate

misdiagnosis of healthy Black individuals as cognitively impaired, are supported by substantial

published research, and thus specifically promote a paramount goal of the Settlement—diagnostic

accuracy. (See supra pp. 6–23.) Claimants’ appeal to Section 1981 thus fails because they cannot

satisfy the threshold requirement of identifying any party that had any—let alone purposeful—

intent to “benefit or burden an identifiable group.” Doe, 665 F.3d at 548.24

                            (a)       Strict Scrutiny Does Not Apply to This Court’s Review

                   Recognizing that they cannot possibly prove intent to discriminate given the

indisputable facts here, Claimants summarily claim they are entitled to “strict scrutiny” of the

potential use of race adjustments in the Settlement Program (a form of judicial review that would

eliminate the need to show intent). (Motion at 19.) But “[t]he Supreme Court has never applied

strict scrutiny to the actions of a purely private entity.” Doe v. Kamehameha Sch./Bernice Pauahi

Bishop Estate, 470 F.3d 827, 839 (9th Cir. 2006). Rather, absent an initial showing of intent, strict

scrutiny is applied only when, unlike here: (1) state action is challenged under the Equal Protection

clause, and (2) the enforced terms are not facially neutral.

                   The Equal Protection clause governs only state action, and thus is inapplicable here.

See Blum v. Yaretsky, 457 U.S. 991, 1004–05 (1982) (“Mere approval of or acquiescence in the

initiatives of a private party is not sufficient to justify holding the State responsible for


24
     Moreover, and critically, the limited way in which independent clinicians could use racial considerations in the
     Settlement Program was evident on the face of the proposed Settlement Agreement. By not objecting or appealing
     on the basis of this feature, Claimants tacitly agreed to it. Thus, under the third-prong of the Section 1981 analysis,
     there is no violation of the “right . . . to make and enforce contracts”—this is the agreement Claimants voluntarily
     signed onto and thus there has been no interference whatsoever with their right to “the enjoyment of all benefits,
     privileges, terms, and conditions of the contractual relationship.” 42 U.S.C. § 1981 (emphasis added).



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those initiatives under the terms of the Fourteenth Amendment.”). Indeed, Claimants’ own cited

case notes that “[s]tate approval of or acquiescence to a private choice does not convert that choice

into state action” where it does not “make the state privy to [its] discriminatory purpose,” e.g., if

it does not require the Court to inquire into, accept, and effectuate a discriminatory purpose with

no sound non-discriminatory aim. Democratic Nat’l Comm., 673 F.3d at 192 (internal quotations

and citations omitted). The Court is not being made “privy” to any discriminatory purpose—it is

merely enforcing a Settlement Agreement that made well-accepted demographic adjustments

(developed and employed solely to facilitate diagnostic accuracy), available (and, in the Clinician’s

Interpretation Guide, recommended) for the use of independent clinicians consistent with their

normal clinical practice; indeed, as the Special Masters’ ruling made clear, no claim will be denied

solely on the basis of a clinician’s failure to employ race-based adjustments.25

                   Moreover, even if such enforcement could possibly bring this claim under the

purview of the Equal Protection clause (and it cannot), strict scrutiny still would not apply as the

terms at issue are facially neutral (i.e., they do not employ an explicit race classification or facially

treat people differently on the basis of race). Doe, 665 F.3d 524 at 548 (“When there is no racial

classification in the plan, strict scrutiny is only applied if plaintiffs show discriminatory intent.”).

Full normative adjustments are recommended (but not required) for all Retired Players, regardless

of race. Indeed, neither the Settlement Agreement nor any of its claim forms require that a Retired




25
     Claimants cite to Shelley v. Kraemer to imply this Court is a state actor and the Equal Protection clause applies.
     (Motion at 19.) In fact, Shelley largely has been limited to its facts over time by cases like Blum, 457 U.S. at
     1004, and, in any event, is wholly inapposite. The Shelley Court dealt with an overt racial covenant restricting a
     Black family from owning property it had purchased; enforcement of the covenant would have required the Court
     to adopt the racial restriction and coercively evict the family. 334 U.S. 1, 6 (1948). Here, as the Special Masters’
     decision makes clear, the use of a race normative adjustment is not mandatory in the Settlement Program, but
     may be used by independent clinicians to achieve diagnostic accuracy consistent with the clinician’s standard
     clinical practice; moreover, a clinician’s failure to apply such norms cannot be the sole basis for a claim’s denial.



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Player even disclose his race, much less that he be treated differently on the basis of it.

                   Claimants’ argument that strict scrutiny applies is thus simply incorrect.

                            (b)      Demographic Normative Adjustments Easily Pass Strict
                                     Scrutiny

                   In all events, even if the Equal Protection clause and strict scrutiny both applied

(and they do not), the permissive use of normative adjustments, including for race, by independent

clinicians in accordance with their typical clinical practice would pass muster, as the

neuropsychological community regards the use of such adjustments in certain circumstances as

the only available and viable mechanism of effectuating the compelling interest of achieving

diagnostic accuracy—an overriding goal of the Settlement Program. (See supra pp. 6–23.)

                   The Settlement Agreement’s permissive use of well-accepted and widely-used

normative adjustments in furtherance of diagnostic accuracy—a Settlement term that Claimants

had an opportunity to, but did not, object to in the course of its final approval—does not violate

Section 1981.26

                                                  CONCLUSION

                   For the foregoing reasons, the NFL Parties respectfully request that the Court deny

Claimants’ Motion.




26
     The cases Claimants cite do not support their argument that the discretionary use of demographic normative
     corrections by independent clinicians, consistent with their clinical practice, and in service of diagnostic accuracy
     is unlawful. See Pryor v. NCAA, 288 F.3d 548, 570 (3d Cir. 2002) (policies established for the express purpose
     of treating individuals differently based on race may be “purposefully” discriminatory under Section 1981);
     Bartlett v. Strickland, 556 U.S. 1, 21 (2009) (redistricting plan violated the Equal Protection clause where race
     motivated the legislature’s decision); Regents of Univ. of California v. Bakke, 438 U.S. 265, 279 (1978) (policy
     rejecting applicants to a state program in favor of other applicants because they were a different race was improper
     under the Equal Protection clause where it “was not the least intrusive means of achieving” diversity).


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Dated: October 8, 2020                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

               It is hereby certified that a true copy of the foregoing document was served

electronically via the Court’s electronic filing system on the 8th day of October, 2020, upon all

counsel of record.




Dated: October 8, 2020                             /s/ Brad S. Karp
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